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                               EXHIBIT 4
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                                                                PRICE QUOTE


                                                                                                    Quote 21392
                                                                               Quote Date: May 13, 2020
                                                                            Quote Expiration: May 31, 2020
                                                                               Sales Rep: Detroit IT Sales


      Company:                             Ship To:                          Bill To:

      Detroit Axle                         Detroit Axle                      Detroit Axle
      2000 Eight Mile Rd                   2000 Eight Mile Rd                2000 Eight Mile Rd
      Ferndale, MI 48220                   Ferndale, MI 48220                Ferndale, MI 48220



                                    Item                         Discount    Qty         Price        Subtotal

                                              HARDWARE (ONE TIME)

           Dell PowerEdge R440 (CTO)                                    %      1        $             $5,628.32
      (2x2.1Ghz,64GB,4x480GB, Server 2019, RPS, 3YR Warranty)


                                                                                                      $5,628.32

                                           IMPLEMENTATION (ONE TIME)

           Professional Services - After Hours                          %     15            $         $2,486.25
      Migrate DEV-DA-J-APP
      Migrate PROD-DA-J-APP
      Migrate SQl-DA-J to DA-MX-ESXI1

      Professional Services                                             %      7            $           $773.50
      Install Vmware ESXI on DA-MX-ESXI
      Configure DA-DA-MX-ESXI1
      Create DA-MX-DC1
      Install Windows Server 2019
      Configure Server Roles

                                                                                                      $3,259.75

                                                                                        Discount      -$4,650.93
                                                                                        Subtotal      $8,888.07

                                                                                            Total    $8,888.07



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                                                                                      PRICE QUOTE



     AGREED TO AND ACCEPTED:




                                  06/11/2020
     ___________________________ _____________________

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                      Signature Certificate
                Document Ref.: SQNUT-KR4JQ-QWNXR-QSBFE

   Document signed by:

                    Mike Mccauley
                    E-mail:
                    mmccauley@detroitaxle.com
                    Signed via link

                    IP: 12.1.245.130     Date: 11 Jun 2020 13:57:24 UTC



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                            11 Jun 2020 13:57:24 UTC
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